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                                                                                      D!V.

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                  IN THE UNITED STATES DISTRICT COURT 6t£RK
                 FOR THE SOUTHERN DISTRICT OF GEORGIA                   SO.01      ,0F 6A.
                            SAVANNAH DIVISION

 UNITED STATES OF AMERICA
                                             CASE NO. CR 4:18-CR-147
            V.



 HERMAN WILLIAMS.
 VINCENT HOOPER

                                          ORDER

      Based upon the application of the Government, and for good cause shown

therein, it is hereby ORDERED:

      That Exhibits A-0 to Doc. Number 277, Exhibits A-J to Doc. Number 278,

and Exhibits A-V to Doc. Number 279 be sealed until further Order of this Court.
                            lifL-               /
      So ORDERED this       /    day of             2018.




                                          ITED STATES MAGISTRATE JUDGE
                                          UTHERN DISTRICT OF GEORGIA
